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                                                                                               E-FILED IN OFFICE - CP
                                                                                              CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                    20-C-09181-S5
                                                                                               12/22/2020 2:37 PIVI

                               IN THE STATE COURT OF GWINNETT COUNTY
                                                                                           r    LERK   F
                                                                                                       ,               E CO~RT

                                            STATE OF GEORGIA

      BRANDON R. BLACK,                             )
                                                    )        CIVIL ACTION
              Plaintiff,                            )        FILE NO.:   20-C-09181-S5
                                                    )
      vs.                                           )
                                                    )
      PENSKE LOGISTICS LLC (DE), and                )
      JOHN DOE,                                     )
                                                    )
                 Defendants.                        )
                                                    )

                                       COMPLAINT FOR DAMAGES

                 COMES NOW Plaintiff Brandon R. Black (hereinafter "Black") and makes and files

      this Complaint against Defendants Penske Logistics LLC (DE) and John Doe and shows

      this Honorable Court the following:

                                  PARTIES, JURISDICTION AND VENUE

                                                        1.


                 Defendant Penske Logistics LLC (DE) is a foreign limited liability company doing

      business in the state of Georgia and is subject to the jurisdiction of this Honorable Court,

      and may be served with process by serving its registered agent, Corporation Service

      Company, 40 Technology Parkway South, Suite 300, Norcross, Gwinnett County, Georgia

      -411I0WA

                                                        2.


                 Defendant John Doe is the driver of the tractor trailer truck who is believed to

      have been an agent or employee of Penske Logistics LLC (DE) whose name and




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      Iocation or whereabouts is known to Penske Logistics LLC (DE), but unknown to the

      Plaintiff.

                                                     3.

              Venue is proper in this Court and this Court has subject matter jurisdiction over the

      claims asserted herein and personal jurisdiction over the Defendants.

                                                  FACTS

                                                     4.

              On or about December 28, 2018, Defendant Penske Logistics LLC (DE), acting by

      and through its agent or employee (whose identity is unknown to the Plaintiff) negligently

      operated a tractor trailer truck on a loading dock by backing the truck causing it to strike

      Plaintiff's head. The tractor trailer truck had a red light at the dock and the Plaintiff had a

      green light.

                                                     5.

              Said incident caused a severe concussion to Plaintiff.

                                                     6.

              The aforementioned incident occurred at Cardinal Health Clinic, 1761 Satellite

      Boulevard, N.E., Buford, Gwinnett County Georgia 30518.

                                                     7.

              The Defendant was negligent in failing to maintain a proper lookout, failing to

      maintain control over his vehicle, and improper backing in violation of O.C.G.A. §40-6-240.




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             As a direct and proximate result of the negligence of the Defendants, Plaintiff was

      caused to suffer bodily injuries, specifically a severe concussion, injury to his neck, mid

      back and low back, and neurological injury involving post concussive syndrome.

                                                  9.

             For treatment of his injuries, Plaintiff was required to and underwent medical care

      from the following medical care providers in the amounts indicated through the time of

      filing this Complaint:

             •   Caduceus Occupational Medicine, $3,128.17;

             •   Reagan Medical Center, $2,805.00;

             •   Northside Hospital, $9,012.00;

             •   Northside Radiology Associates, $674.00;

             •   Neurology South, P.C., $600.00;

             •   Elite Sport & Personal Injury Centers, $14,700.00;

             •   Ortho Atlanta, $1,070.00; and

             •   Benchmark Physical Therapy, $3,570.00.

             Total medical special damages available through the time of filing this Complaint

      $35,559.17.

                                                   10.

             Due to his injuries, Plaintiff was unable to engage in his usual occupation as a

      warehouse dock worker at Cardinal Health working 62 total hours per week, earning

      $15.00 an hour 40 hours a week and $22.50 an hour 22 hours a week.



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             Plaintiff brings this action to recover general damages for his pain and suffering,

      and special damages for his medical expenses and lost wages.

             WHEREFORE, Plaintiff respectfully prays that Summons issue, that Defendants

      be served with process as required by law, that Plaintiff have a trial before the Court

      sitting without a jury, that Plaintiff have and recover verdict and judgment against the

      Defendants in an amount to be shown at the time of trial and for such other and further

      relief as this Court deems necessary and proper.

                                                        Respectfully submitted,


                                                        /s/Douplas R. Powell
                                                        DOUGLAS R. POWELL
                                                        State Bar No. 585937


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                                                        /s/Kathy Edwards Opperman
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